                                                                                Motion GRANTED.
                                                                                Extension to 4/1/2022.


                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

 ERNEST KEVIN TRIVETTE, et al.,

                      Plaintiffs,
                                                      Civil No. 3:20-cv-00276
v.                                                    Judge Aleta A. Trauger
 TENNESSEE DEPARTMENT OF
 CORRECTION,
              Defendant.



                    JOINT MOTION TO EXTEND DEADLINE TO FILE
                               MOTIONS TO AMEND



        The parties, through their undersigned counsel, jointly request that the Court extend the

deadline for Motions to Amend from February 1, 2022 to April 1, 2022. The court entered an

Initial Case Management Order [Doc. 70] in this action on October 22, 2021. This is the parties’

first request for an extension of a case management deadline.

        WHEREFORE, the Parties respectfully move the Court for an extension of two (2)

months, to and including April 1, 2022, to submit the Motion to Amend.


Respectfully submitted,


DISABILITY RIGHTS TENNESSEE

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     Case 3:20-cv-00276 Document 78 Filed 01/28/22 Page 1 of 1 PageID #: 1306
